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                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF INDIANA

 BOBBY LOUIS PECK,                      )
                                        )
       Plaintiff,                       )
                                        )
       v.                               )                                CAUSE NO.: 3:06-CV-226-TS
                                        )
 CHARLES E. WHELAN, JAMES L. CADWELL, )
 JASON P. NOWATZKE, BESSIE E. LEONARD, )
 ERNESTO DELAO, JOHN C. COSICH, KYLE R. )
 MOORE, LARRY A. LUDWIG, RONDLE         )
 ANDERSON, DANIEL BODLOVICH, EDWIN )
 BUSS, ROBERT ROOSE, WILLIAM H. WILSON )
 JAMES WYNN, DONALD M. BATES,           )
 FARSHAWNA L. CROOK, CECIL K. DAVIS,    )
 KRISTINA J. McCARTY, BARBARA L.        )
 ROSEBOROUGH, and HOWARD WILSON1,       )
                                        )
       Defendants.                      )

                                           OPINION AND ORDER

          Before the Court are cross-motions for summary judgment on the retaliation claim of

 Plaintiff Bobby Louis Peck, a prisoner proceeding pro se in this 42 U.S.C. § 1983 lawsuit against

 nineteen2 Defendants, who are officials and staff at the Indiana Department of Corrections.



                                                BACKGROUND

          On March 29, 2006, Peck signed his original Complaint [DE 1]. On April 3, he filed it

 with the Clerk of this Court along with an In Forma Pauperis Petition [DE 3]. He was denied

 leave to proceed in forma pauperis pursuant to 28 U.S.C. § 1915(g) because he had on three


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           It appears that Howard Wilson and William H. Wilson are the same person, and the Plaintiff misnamed
 Howard as William. (See Notice of Appearance, DE 75.) The Court will review the claims made against William H.
 Wilson as if they were also made against Howard Wilson.
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         There are nineteen Defendants, not twenty (as listed in the caption), because the Plaintiff incorrectly
 named Howard Wilson as William H. Wilson. See note 1, supra.
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 prior occasions filed a meritless complaint or appeal. After paying the filing fee, he subsequently

 filed two amended complaints [DE 17, 20]. On January 17, 2007, the Court screened the Second

 Amended Complaint and granted Peck leave to proceed against the nineteen Defendants solely

 on his claims of retaliation, which remain at issue with these summary judgment motions.

 (Opinion and Order, DE 22.)

        On December 19, 2007, the Defendants filed a Motion for Summary Judgment [DE 76].

 In compliance with Northern District of Indiana Local Rule 56.1(e), the Defendants included a

 Timms3 notice informing the pro se Plaintiff of his obligations. (See Mot. for Summ. J. 2–4.) On

 December 26, the Plaintiff filed a Motion for Summary Judgment [DE 98]. On May 9, 2008, the

 Plaintiff filed a document that he entitled “Motion in Opposition to Defendant’s Motion for

 Summary Judgment,” [DE 112], which is actually his Response and will be referred to as such.

 On May 27, the Defendants filed their Reply [DE 116].



                                 SUMMARY JUDGMENT STANDARD

        The Federal Rules of Civil Procedure provide that motions for summary judgment should

 be granted “if the pleadings, the discovery and disclosure materials on file, and any affidavits

 show that there is no genuine issue as to any material fact and that the movant is entitled to

 judgment as a matter of law.” Fed. R. Civ. P. 56(c). A genuine issue of material fact exists when

 “‘there is sufficient evidence favoring the nonmoving party for a jury to return a verdict for that

 party.’” AA Sales & Assocs. v. Coni-Seal, Inc., 550 F.3d 605, 608–09 (7th Cir. 2000) (quoting

 Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249 (1986)). The party seeking summary


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            Timms v. Frank, 953 F.2d 981 (7th Cir. 1992).

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 judgment bears the initial burden of proving there is no genuine issue of material fact. Celotex

 Corp. v. Catrett, 477 U.S. 317, 323 (1986). Under Rule 56(e)(2), a party opposing a properly

 made and supported motion for summary judgment “may not rely merely on allegations or

 denials in its own pleading; rather its response must—by affidavits or as otherwise provided in

 this rule—set out specific facts showing a genuine issue for trial.” Fed. R. Civ. P. 56(e)(2). The

 evidence the nonmovant relies on must be identified with reasonable particularity and must be

 “competent evidence of a type otherwise admissible at trial.” Bombard v. Fort Wayne

 Newspapers, Inc., 92 F.3d 560, 562 (7th Cir. 1996); see also Powers v. Dole, 782 F.2d 689, 696

 (7th Cir. 1986) (stating that when evidence is offered through exhibits on a summary judgment

 motion, those exhibits “must be identified by affidavit or otherwise admissible”). If appropriate,

 summary judgment should be entered against a party who fails to so respond. Fed. R. Civ. P.

 56(e)(2); see also Celotex, 477 U.S. at 322 (holding that a court should enter summary judgment,

 after adequate time for discovery, against a party “who fails to make a showing sufficient to

 establish the existence of an element essential to that party’s case, and on which that party will

 bear the burden of proof at trial”).

         A court’s role on summary judgment is not to weigh the evidence, make credibility

 determinations, or decide which inferences to draw from the facts, but instead to determine

 whether there is a genuine issue of triable fact. Anderson, 477 U.S. at 255; Washington v.

 Haupert, 481 F.3d 543, 550 (7th Cir. 2007); Payne v. Pauley, 337 F.3d 767, 770 (7th Cir. 2003).

 A material fact must be outcome determinative under the governing law. Insolia v. Philip Morris

 Inc., 216 F.3d 596, 598–99 (7th Cir. 2000). Although a bare contention that an issue of fact

 exists is not sufficient to create a factual dispute, the court must construe all facts in a light most


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 favorable to the nonmoving party as well as view all reasonable inferences in that party’s favor.

 See Bellaver v. Quanex Corp., 200 F.3d 485, 492 (7th Cir. 2000). Pursuant to local rule, the

 Court is to assume that the facts claimed by the moving party and supported by admissible

 evidence are admitted to exist without controversy, except to the extent such facts are

 controverted in a “Statement of Genuine Issues” filed in opposition to the motion and supported

 by admissible evidence. N.D. Ind. L.R. 56.1(b).

        When cross-motions for summary judgment are filed, courts “look to the burden of proof

 that each party would bear on an issue of trial; [courts] then require that party to go beyond the

 pleadings and affirmatively to establish a genuine issue of material fact.” Santaella v.

 Metropolitan Life Ins. Co., 123 F.3d 456, 461 (7th Cir. 1997) (citing Celotex, 477 U.S. at 324.)

        “The contention of one party that there are no issues of material fact sufficient to prevent

 the entry of judgment in its favor does not bar that party from asserting that there are issues of

 material fact sufficient to prevent the entry of judgment as a matter of law against it.”

 Schwabenbauer v. Bd. of Educ., 667 F.2d 305, 313 (2d Cir. 1981), quoted in Zook v. Brown, 748

 F.2d 1161, 1166 (7th Cir. 1984). “It is true that cross-motions for summary judgment do not

 waive the right to a trial, but this rule does not alter the respective burdens on cross-motions for

 summary judgment—more particularly here, the responsive burden of a plaintiff who moves for

 summary judgment and is confronted with a cross-motion for summary judgment. The motions

 are treated separately.” McKinney v. Cadleway Properties, Inc., 548 F.3d 496, 504 n.4 (7th Cir.

 2008) (citations omitted). In other words, even if plaintiffs filed their own motion for summary

 judgment, that does “not relieve them of their burden as the nonmovants relative to the

 defendant’s motion for summary judgment.” Ryan v. Chromalloy Am. Corp., 877 F.2d 598, 603


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 (7th Cir. 1989). In that situation, the plaintiffs are “required to set forth specific facts showing

 why summary judgment on behalf of the defendants was not appropriate.” Id.

         While pro se pleadings are given liberal construction, procedural rules and requirements

 apply to pro se cases. McNeil v. United States, 508 U.S. 106, 113 (1993); Greer v. Bd. of Educ.,

 267 F.3d 723, 727 (7th Cir. 2001) (“The essence of liberal construction is to give a pro se

 plaintiff a break when, although he stumbles on a technicality, his pleading is otherwise

 understandable. However, a lawsuit is not a game of hunt the peanut.”)



                                     STATEMENT OF FACTS

         On February 24, 2004, Peck testified during the civil rights trial of fellow inmate

 Anthony Smith. In Smith v. Davis, 3:02-CV-233 (N.D. Ind. filed April 3, 2002), Charles E.

 Whelan was a defendant, and the jury found him not liable to Smith. Whelan is also a Defendant

 in this case. Peck alleges that Whelan is the central figure in a far-ranging effort to punish Peck

 for testifying against Whelan during that prior trial. In his declaration, Peck recounts numerous

 details about his disciplinary write-up, his hearing, his successful appeal resulting in a remand

 and rehearing, the rehearing, and his second, successful appeal resulting in the dismissal of the

 charges against him. After the administrative process ended, Peck alleges that he was retaliated

 against by being placed in department-wide administrative segregation and denied contact

 visitation.



                                            DISCUSSION

         The Seventh Circuit states that in order to


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         prevail on a First Amendment retaliation claim, [Peck] must ultimately show that
         (1) he engaged in activity protected by the First Amendment; (2) he suffered a
         deprivation that would likely deter First Amendment activity in the future; and (3)
         the First Amendment activity was at least a motivating factor in the Defendants’
         decision to take the retaliatory action.

 Bridges v. Gilbert, 557 F.3d 541, 546 (7th Cir. 2009) (internal quotations omitted). That third

 element “is the element of causation. [The Plaintiff] must show a causal link between the

 protected act and the alleged retaliation.” Woodruff v. Mason, 542 F.3d 545, 552 (7th Cir. 2008)

 (quotation marks omitted). At the pleading stage of this proceeding, the Court accepted Peck’s

 allegations as true, but in response to a motion for summary judgment Peck is required to bring

 forth admissible evidence to support his allegations—it is not enough to merely contend that

 events happened.



 A.      Claims Against Charles E. Whelan

         Peck asserts that Whelan engaged in three retaliatory acts. First, he alleges that Whelan

 retaliated against him by writing and prosecuting a false disciplinary charge against him. Second,

 he alleges that Whelan continued prosecuting the same false disciplinary charge when it was

 remanded for a new hearing. Third, he alleges that Whelen was involved in administrative

 punishments against him after the second finding of guilt was set aside.

         The Court will address these three allegations in reverse order. In support of his third

 alleged act of retaliation, Peck states in his declaration:

         It is my contention that . . . Whelan initiated an [sic] third act of retaliation against
         me, by submitting false and fraudulent claims of me being a gang member
         involved in security threat group activities, and fraudulently claiming that I have a
         history of being heavily involved in drug trafficking, and by . . . discriminatorily
         placing me on department wide administrative segregation . . .. See Exhibit(s)
         marked (10-B), (20), (20-A)[.]

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 [Pl. Aff., DE 98-2 at 8–9]4 (emphasis in original). None of these exhibits demonstrate that

 Whelan was involved in any way. Exhibit 10-B is Executive Directive #03-57 issued by

 Commissioner Evelyn Ridley-Turner on December 17, 2003. (DE 98-5 at 3.) This exhibit makes

 no mention of Whelan and does not support the claim that Whelan was involved in reporting any

 activity by Peck or placing him in segregation. Exhibit 20 is the Report of Classification Hearing

 dated September 9, 2005, to which is attached Peck’s Offender Information System Conduct

 Summary, dated October 29, 2007. (DE 98-10 at 1–5.) The Classification Hearing Report was

 signed by four correctional officials, but not by Whelan, and the document does not mention

 Whelan. The Conduct Summary is a four-page computer printout listing twelve disciplinary

 offenses including attempted murder, possessing a dangerous weapon (twice),and possessing or

 using an unauthorized substance and attempted murder (twice). The Report does not include the

 overturned trafficking offense nor does it include any reference to Whelan. Exhibit 20-A is the

 Classification Committee Recommendation [DE 98-10 at 6]. This report does not mention

 Whelan, nor is it signed by him. Peck contends that Whelan’s involvement with his placement on

 administrative segregation is the third act of retaliation, but he has provided nothing to

 substantiate this contention. See Palmer v. Marion County, 327 F.3d 588, 593–94 (7th Cir. 2003)

 (stating that liability under § 1983 can only be based on a finding that the defendant caused the

 deprivation at issue); Rockwell Automation, Inc. v. Nat’l Union Fire Ins. Co., 544 F.3d 752, 757

 (7th Cir. 2008) (“[M]ere speculation or conjecture will not defeat a summary judgment motion.”

 (quoting McCoy v. Harrison, 341 F.3d 600, 604 (7th Cir. 2003))).


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           Peck has submitted the same document with his declarations and contentions in support of his Motion for
 Summary Judgment [DE 98] and in support of his Motion In Opposition [DE 112] (which is actually his Response).
 (See Affidavit, DE 98-2, Declaration, DE 113.) For the sake of clarity and because he has attached exhibits only to
 the former, the Court will cite solely to his Affidavit [DE 98-2].

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         In support of his second alleged act of retaliation, Peck alleges that Whelan continued

 prosecuting the same false disciplinary charge when it was remanded for a new hearing.

 Although Peck tries to characterize the two disciplinary hearings as separate acts of retaliation,

 there was only one disciplinary charge. The rehearing was not a new case or a distinct act of

 retaliation. Instead, the rehearing was merely a continuation of the allegedly false conduct report

 for trafficking.

         Because Peck’s allegation against Whelen is now limited to a single, dismissed,

 retaliatory conduct report, he cannot state a claim with this matter because the Seventh Circuit

 has said that a “single retaliatory disciplinary charge that is later dismissed,” like it was here, “is

 insufficient to serve as the basis of a § 1983 action.” Bridges, 557 F.3d at 555 (finding that the

 plaintiff’s retaliation claim made on this basis was properly dismissed). Thus, even if Peck could

 demonstrate that Whelan wrote the disciplinary charge in retaliation for having testified against

 him, this evidence would be insufficient to establish liability under 42 U.S.C. § 1983. Therefore,

 summary judgment must be granted in favor of Whelan and against Peck.



 B.      Claims Against Barbara L. Roseborough, Farshawna L. Crook, Jason P. Nowatzke,
         James L. Cadwell, Bessie E. Leonard, Ernesto Delao, Kristina J. McCarty, Donald
         M. Bates, John C. Cosich, Larry A. Ludwig, and Kyle R. Moore

         Peck alleges that Barbara L. Roseborough, Farshawna L. Crook, Jason P. Nowatzke,

 James L. Cadwell, Bessie E. Leonard, Ernesto Delao, Kristina J. McCarty, Donald M. Bates,

 John C. Cosich, Larry A. Ludwig, and Kyle R. Moore retaliated against him when they

 participated in misprocessing the disciplinary charge filed by Whelan. The analysis of these

 claims is not materially different than the analysis of the retaliation claim against Whelan. This


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 group of Defendants, like Whelan, are each alleged to have participated in a single retaliatory

 disciplinary charge that was later dismissed. However, as previously discussed, a “single

 retaliatory disciplinary charge that is later dismissed is insufficient to serve as the basis of a

 § 1983 action.” Bridges, 557 F.3d at 555. Thus, even if Peck could demonstrate that any or all of

 these eleven Defendants retaliated against him by misprocessing the disciplinary charge, this

 evidence would be insufficient to establish liability under 42 U.S.C. § 1983. Therefore, summary

 judgment must be granted in favor of Barbara L. Roseborough, Farshawna L. Crook, Jason P.

 Nowatzke, James L. Cadwell, Bessie E. Leonard, Ernesto Delao, Kristina J. McCarty, Donald M.

 Bates, John C. Cosich, Larry A. Ludwig, and Kyle R. Moore; and against Peck.



 C.      Claims Against William H. Wilson, Robert Roose, Daniel Bodlovich, Edwin Buss,
         James Wynn, Rondle Anderson, Cecil K. Davis, and Howard Wilson

         Peck alleges that William H. Wilson, Robert Roose, Daniel Bodlovich, Edwin Buss,

 James Wynn, Rondle Anderson, Cecil K. Davis, and Howard Wilson retaliated against him by

 placing him in department-wide administrative segregation and denying him contact visitation.

 In support of these claims and in relation to each of these Defendants, Peck states his

 “contention[s]” in paragraphs 25 through 32 of his declaration. [DE 98-2 at 9–12]. He also cites

 to Exhibits 9, 10-B, 21, 21-A, 22, 23, 24, 24-A, 24-B, 24-C, 24-D, 25, 25-A, 25-B, 25-C, 25-D,

 25-E, and 25-F. None of these exhibits demonstrate that any of these Defendants acted with

 retaliatory animus and conclusory statements of belief, like the ones made by Peck, are

 insufficient to survive summary judgment. See Payne v. Pauley, 337 F.3d 767, 773 (7th Cir.

 2003) (stating that affidavits presented during summary judgment must be based on personal

 knowledge).

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         Exhibit 9 is Executive Directive #05-39 issued by Commissioner J. David Donahue on

 November 3, 2005 [DE 98-4 at 1–2] and Policy and Administrative Procedure 00-02-301 [DE

 98-4 at 3–34]. Exhibit 10-B is Executive Directive #03-57 issued by Commissioner Evelyn

 Ridley-Turner on December 17, 2003 [DE 98-5 at 3]. Exhibit 21-A is the Adult Offender

 Classification Policy 01-04-101, its appendices, sample forms, and memos amending the policy

 [DE 98-11, 98-12, 98-13, 98-14, 98-15, and 98-16]. Exhibit 22 is Executive Directive #05-11

 issued by Commissioner J. David Donahue on April 12, 2005 [DE 98-17]. None of these

 policies, forms, memos, or directives prove retaliation or provide any evidence that these

 Defendants acted in response to the Plaintiff’s First Amendment activity.

         Exhibit 21 is a Report of Inter-Facility Transfer [DE 98-10 at 7]. Exhibit 23 is a Report of

 Classification Hearing dated February 14, 2006 [DE 98-18 at 1]. Exhibit 24, 24-A, and 24-B are

 three Classification Designations [DE 98-18 at 2–4]. Exhibit 24-C is a memorandum from the

 Supervisor of Classification, Daniel Bodlovich, notifying Peck that the Classification Division

 approved his placement on department wide administrative segregation and informing him of the

 procedure for appealing that decision [DE 98-18 at 5]. Exhibit 24-D is the same Report of Inter-

 Facility Transfer as Exhibit 21, with signatures in the central office section of the form [DE 98-

 18 at 6]. Exhibit 25 is a Modification of Visiting Privileges dated April 8, 2005, limiting Peck to

 non-contact visitation [DE 98-19 at 1]. Exhibit 25-B is a letter from L. A. VanNatta modifying

 Peck’s non-contact visitation restriction from permanent to twelve months [DE 98-19 at 3].

 Exhibit 25-E is a letter from Buss [DE 98-19 at 6]. None of these reports, memorandums, or

 letters admit to, or even hint at, retaliation against Peck.




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        Exhibit 25-A is a grievance filed by Peck [DE 98-19 at 2]. Exhibit 25-C and 25-D are

 letters from Peck to Superintendent Buss [DE 98-19 at 4–5]. Exhibit 25-F is a letter from Peck to

 C. A. Penfold. [DE 98-19 at 7]. These exhibits were all written by Peck. As such, they are

 nothing more than his own claims or assertions, and “mere speculation or conjecture will not

 defeat a summary judgment motion.” Rockwell Automation, 544 F.3d at 757. All Peck has in

 support of his claim that these Defendants acted against him in retaliation is his own

 “contention” that they did. Therefore, summary judgment must be granted in favor of William H.

 Wilson, Robert Roose, Daniel Bodlovich, Edwin Buss, James Wynn, Rondle Anderson, Cecil K.

 Davis, and Howard Wilson; and against Peck.



 D.     Peck’s Cross-Motion for Summary Judgment

        Because all of the Defendants having prevailed on their Motion for Summary Judgment,

 Peck’s Cross-Motion for Summary Judgment, which the Court reviewed and which must

 surmount a burden higher than his response to the Defendants’ Motion, must be denied.

 McKinney, 548 F.3d at 504 n.4; Chromalloy Am. Corp., 877 F.2d at 603 (stating that even if a

 plaintiff has filed his own motion for summary judgment, that does “not relieve [him] of [his]

 burden as the nonmovant[] relative to the defendant’s motion for summary judgment.”)



                                          CONCLUSION

        For the foregoing reasons, the Court:

        (1) GRANTS the Defendants’ Motion for Summary Judgment [DE 76];

        (2) DENIES the Plaintiff’s Motion in Opposition [DE 112];


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      (3) DENIES the Plaintiff’s Motion for Summary Judgment [DE 98]; and

      (4) DIRECTS the Clerk to enter judgment accordingly.

      SO ORDERED on July 17, 2009.

                                          s/ Theresa L. Springmann
                                         THERESA L. SPRINGMANN
                                         UNITED STATES DISTRICT COURT
                                         FORT WAYNE DIVISION




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